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 7
                                       UNITED STATES DISTRICT COURT
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 9                                  CENTRAL DISTRICT OF CALIFORNIA
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     JENNIFER RHEUARK, on behalf of ) CASE NO. 2:16-cv-01377-R-KS
12
     herself and all others similarly )
13   situated,                        ) ORDER RE: STIPULATION OF
14
                                      ) DISMISSAL
                         Plaintiff,   )
15                                    )
16          vs.                       )
                                      )
17
     UNITED RECEIVABLES GROUP, )
18   LLC                              )
                                      )
19
                         Defendant.   )
20                                    )
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                                      )
                                      )
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23
               The Court has reviewed the Stipulation of Defendant UNITED
24
     RECEIVABLES GROUP, LLC ("Defendant"), by and through its respective
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     counsel of record, Shawn Eldridge; and by and through counsel for Plaintiff
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27
     JENNIFER RHEUARK, L. Timothy Fisher and Scott A. Bursor; to dismiss the

28   {RHEUARK - [PROPOSED] ORDER RE DISMISSAL;1}           ORDER STIPULATION OF DISMISSAL
                                                             CASE NUMBER: 2:16-CV-01377-R-KS
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 1   above-entitled action, with prejudice as to Plaintiff’s individual action, and without
 2   prejudice as to class action claims. Pursuant to the Stipulation between the parties,
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     the Court orders as follows:
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               1.        That the above-entitled lawsuit is hereby dismissed, with prejudice,
 5
     pursuant to FRCP 41(a)(1). Each party shall bear their own costs and expenses.
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 7
     IT IS SO ORDERED:
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 9   DATED: September 28, 2016
10                                                 _________________________________________
                                                   HONORABLE JUDGE MANUEL L. REAL
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                                                   UNITED STATES DISTRICT COURT JUDGE
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28   {RHEUARK - [PROPOSED] ORDER RE DISMISSAL;1}                  ORDER STIPULATION OF DISMISSAL
                                                                    CASE NUMBER: 2:16-CV-01377-R-KS
